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                              IN THEUNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                                    *

v.                                                       *
                                                                Criminal No.: CCB-16-00597
                                                         *
ROGER TAYLOR
                                                         *
        *        *        *        *        *       *           *     *        *        *        *       *

                 MOTION FOR REVIEW OF DETENTION BY AGREEMENT

        Now Comes, the defendant, Roger Taylor, by his attorney William B. Purpura, and

respectfully requests pursuant to 18 U.S.C. 3145(b) that this Honorable Court schedule this

matter for a Detention Hearing, and in support therefore, states as follows:

        1. That on July 16, 2019, Mr. Taylor had an initial appearance on an indictment charging

him with Conspiracy to Participate in Racketeering Activity.

        2. That on July 16, 2019, the defendant consented to detention without prejudice.

        3. That on February 3, 2020, Mr. Taylor entered a guilty plea to Count 1 of the Second

Superseding Indictment charging him with Conspiracy to Participate in Racketeering Activity

and Count 1 of a Superseding Criminal Information charging him with Conspiracy to Distribute

and Possession With Intent to Distribute 5 kilograms or more of a substance containing a
detectable amount of Cocaine.1

        4. That sentencing was recently continued as a result of the Court’s recent closures.

        5. That Mr. Taylor is currently detained at the Chesapeake Detention Facility. Mr.

Taylor indicates that he suffers from Asthma and uses an inhaler.

        6. That Mr. Taylor now respectfully requests a detention hearing.

        WHEREFORE, it is respectfully requested that this matter be set for a detention hearing

at the Court’s convenience.

1
 That undersigned counsel understands and acknowledges that because Mr. Taylor is awaiting sentencing after
having entered a guilty plea 18 U.S.C. 3143(a)(2) applies and not 18 U.S.C. 18 U.S.C. 3142 despite Mr. Taylor
previously consenting to detention.



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                                                   Respectfully submitted,

                                                                 /S/
                                                   __________________________________
                                                   William B. Purpura, Esquire

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                                                   Baltimore, Maryland 21202
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                               CERTIFICATE OF SERVICE

        I HERERBY certify that on this 2nd of April, 2020, a copy of the foregoing was
delivered by electronic mail to Assistant United States Attorney Christopher Romano.


                                                   _________/s/_______________
                                                   William B. Purpura




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